FILED
Charlotte, NC

UNITED STATES DISTRICT COURT FEB 1 7 2022
WESTERN DISTRICT OF NORTH CAROLINA Clerk, US District Court
CHARLOTTE DIVISION Western District NC

3:20-CV-00504-FDW-DSC

CPI SECURITY SYSTEMS, INC.,
Plaintiff,

Vv.
VIVINT SMART HOME, INC. VERDICT FORM
f/k/a MOSAIC ACQUISITION CORP.; .
LEGACY VIVINT SMART HOME,
f/k/a VIVINT SMART HOME, INC.,

Defendants.

 

 

a. As to Issue 1, do you find that CPI has proven by the greater weight of
the evidence that Vivint is liable to CPI under the Lanham Act?

Answer “Yes” or “No”: ES

b. _—_‘ If you answered “Yes” to Issue 1.a. above, was Vivint’s violation of
the Lanham Act a proximate cause of damage, if any, to CPI?

Answer “Yes” or “No”: YES

c. If you answered “Yes” to Issue 1.b. above, what amount of damages, if
any, is CPI entitled to receive from Vivint as to Issue 1?
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a. As to Issue 2, do you find that CPI has proven by the greater weight of
the evidence that Vivint-is liable to CPI for engaging in one or more of
the following forms of common law unfair competition?

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M@ Falsely stating or suggesting, through
words or actions, to CPI customers
that Vivint is affiliated with CPI; Answer “Yes” or “No”:

YES

(2) Falsely stating or suggesting, through
words or actions, to CPI customers
that Vivint is affiliated with CPI; Answer “Yes” or “No”:

YES

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(3) Falsely stating or suggesting to CPI
customers that Vivint is performing
routine maintenance, upgrading, or
updating the customer’s CPI
equipment on CPI’s behalf; Answer “Yes” or “No”:

TES

(4) Falsely stating or suggesting to CPI
customers that Vivint has acquired,
has merged with, has taken over, or is
part of CPI; Answer “Yes” or “No”:

YES

(5) Falsely stating or suggesting to CPI
customers that CPI has gone out of
business, was bought out by another
competitor, or changed its company
name; Answer “Yes” or “No”:

(6) Falsely stating or suggesting to CPI
customers that CPI has stopped
monitoring their alarm system; A er “Yes” or “No”:
Cc
— (7) Falsely stating or suggesting to CPI
customers that Vivint is “taking over”

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the monitoring of a CPI customer
account or has purchased a CPI
account or accounts from CPI; Answer “Yes” or “No”:

ES

(8) Making a fraudulent statement to a
CPI customer about  Vivint’s
“buyout” of a CPI account; or Answer “Yes” or “No”:

YES

 

(9) Falsely representing the statutory
three-day right of rescission to CPI
customers and resulting in damage to Answer “Yes” or “No”:

CPI. YES

b. If you answered “Yes” to Issue 2.a. above, or Issues 1.a and 1.b, was
Vivint’s common law unfair competition a proximate cause of injury,
if any, to CPI?

Answer “Yes” or “No”: YE 5

C. If you answered “Yes” to Issue 2.b. above, what amount of damages, if
any, is CPI entitled to receive from Vivint as to Issue 2?

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a. As to Issue 3, do you find that CPI has proven by the greater weight of
the evidence that Vivint is liable to CPI for tortiously interfering with
CPI’s contracts with any of the following customers?

(1) Kathy Davis Answer “Yes” or “No”:
yes

(2) Cindy Link Answer “Yes” or “No”:

(3). Joseph Montebello Answer “Yes” or “No”:

ES

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(4) Laura Ward

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(5) - Karen Green Answer “Yes” or “No”:

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A

(6) Joyce Mariso Answer “Yes” or “No”:

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(7) Harriett Betterson Answer “Yes” or “No”:
YES
b. If you answered “Yes” to Issue 3.a. above, was Vivint’s tortious

interference a proximate cause of injury, if any, to CPI?
Answer “Yes” or “No”: { t S

c. If you answered “Yes” to Issue 3.b. above, what amount of damages, if
any, is CPI entitled to receive from Vivint as to Issue 3?

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a. As to Issue 4, do you find that CPI has proven by the greater weight of
the evidence that Vivint is liable to CPI under the North Carolina Unfair
and Deceptive Trade Practices Act?

Answer “Yes” or “No”: ‘ ES

b. —_ If you answered “Yes” to Issue 4.a. above, was Vivint’s violation of the
North Carolina Unfair and Deceptive Trade Practices Act a proximate
cause of injury, if any, to CPI?

Answer “Yes” or “No”: Y & S

C. If you answered “Yes” to Issue 4.b. above, what amount of damages, if
any, is CPI entitled to receive from Vivint as to Issue 4?

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5. a. If you answered “Yes” to Issues 2 or 3 above, do you find that CPI has

proven by clear and convincing evidence that CPI is entitled to receive
punitive damages from Vivint?

Answer “Yes” or “No”: ES

b. If you answered “Yes” to Issue 5.a. above, what amount of punitive
damages, if any, is CPI entitled to receive from Vivint?

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SO SAY WE ALL.

Dated this (7 day of February, 2023

 

   

(Signature off oreperson)

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